                 Case 18-10467-KG           Doc 20      Filed 03/05/18       Page 1 of 1



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                    Chapter 11

HCR MANORCARE, INC.,                                      Case No. 18-10467 (KG)

                       Debtor.


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission pro hac
vice of Allison Ross Stromberg of Sidley Austin LLP to represent the above-captioned debtor and debtor
in possession in this case.

                                                  /s/ Justin H. Rucki
                                                  Justin H. Rucki (No. 5304)
                                                  Young Conaway Stargatt & Taylor, LLP
                                                  Rodney Square, 1000 North King Street
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 571-6600; Facsimile: (302) 571-1253

              CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing, and in good standing as a member of the Bar of the State of Illinois, and submit to
the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or
course of this action. I also certify that I am generally familiar with this Court’s Local Rules and with the
Revised Standing Order for District Court Fund effective September 1, 2016. I further certify that the
annual fee of $25.00 has been paid to the Clerk of the Court for the District Court.

                                                  /s/ Allison Ross Stromberg
                                                  Allison Ross Stromberg
                                                  Sidley Austin LLP
                                                  One South Dearborn Street
                                                  Chicago, IL 60603
                                                  Telephone: (312) 853-7000; Facsimile: (312) 853-7036

                                    ORDER GRANTING MOTION

IT IS HEREBY ORDERED that counsel’s Motion for Admission pro hac vice is granted.
